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               Exhibit B
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                                   OFFICE OF THE ATTORNEY GENERAL
                                    CONSUMER PROTECTION DIVISION

                          CIVIL INVESTIGATIVE DEMAND
To:    Media Matters for America                     via FedEx 774187563037
                                                     Return Date: December 12, 2023
c/o    Angelo Carusone
       800 Maine Ave SW, Suite 500
       Washington, DC 20024

Pursuant to this office's specific authority under § 17.61 of the Texas Deceptive Trade Practices -
Consumer Protection Act,§§ 17.41-.63, Texas Business and Commerce Code ("DTPA"), Media Matters
for America ("Media Matters") is hereby directed to produce the items listed in "Exhibit A" attached
hereto.

You are to make available the documentary material described in "Exhibit A" to the undersigned
Assistant Attorney General, or other authorized agent(s) identified by the Consumer Protection Division
("Division"), by the "Return Date" indicated above for inspection and copying. In lieu of producing the
originals for inspection and copying at your principal place of business, you may deliver true copies of
the requested documents to the Assistant Attorney General or Authorized Agent below at the Office of
the Attorney General, 300 W 15 th St, Austin, TX, 78701. Contact one of the persons listed below upon
receipt to discuss the logistics of producing the requested documents to the Division.

The Division believes that Media Matters for America is in possession, custody, or control of documentary
material relevant to the subject matter of an investigation of possible violations of§§ 17.46(a) and (b) of
the DTPA, related to false, misleading, and/or deceptive practices in the State of Texas.

 TAKE NOTICE THAT pursuant to section 17.62, Texas Business and Commerce Code, any
 person who attempts to avoid, evade, or prevent compliance, in whole or in part, with this
 directive by removing, concealing, withholding, destroying, mutilating, altering, or by any other
 means falsifying any documentary material may be guilty of a misdemeanor and on conviction
 is punishable by a fine of not more than $5,000.00 or by confinement in the county jail for not
 more than one year, or both.

ISSUED THIS 21 st day of November, 2023 .

/s Levi Fuller                                       Authorized Agent
Levi Fuller                                          Ryan Hanlan
Assistant Attorney General                           Investigator
(512) 936-1308                                       (512) 936-3354
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                                                Instructions
 1. Read These Instructions/Definitions. Read these instructions and definitions carefully.

2. Duty to Preserve Documents. All documents and/or other data which relate to the subject matter or
   requests of this Civil Investigative Demand must be preserved. Any ongoing, scheduled or other
   process of document or data destruction involving such documents or data must cease even if it is
   your normal or routine course of business for you to delete or destroy such documents or data and
   even if you believe such documents or data are protected from discovery by privilege or otherwise.
   Failure to preserve such documents or data may result in legal action and may be regarded as spoliation
   of evidence under applicable law.

3. Relevant Dates. Unless otherwise noted, the requests in this Civil Investigative Demand require
   production of documents for each year from January 1, 2022 to the final date of your production of
   responsive documents, herein called "the relevant time period."

4. Custody and Control. In responding to this Civil Investigative Demand, you are required to produce
   not only all requested documents in your physical possession, but also all requested documents within
   your custody and control, including those within the possession of persons reasonably available to you
   or under your direction or control.

5. Identification of Documents not in Custody or Control. If any responsive document was, but no
   longer is, in your possession, custody or control, produce a description of each such document. The
   description shall include the following:

    a. The name of each author, sender, creator, and initiator of such document;
    b. the name of each recipient, addressee, or party for whom such document was intended;
    c. the date the document was created;
    d. the date(s) the document was in use;
    e. a detailed description of the content of the document;
    f.   the reason it is no longer in your possession, custody or control; and
    g. the document' s present whereabouts.

    If the document is no longer in existence, in addition to providing the information indicated above,
    state on whose instructions the document was destroyed or otherwise disposed of, and the date and
    manner of the destruction or disposal.

6. Privileged Documents. If any responsive document is withheld, in whole or in part, under any
   claim of privilege, provide a detailed privilege log that contains at least the following information for
   each document or partial document that you have withheld:

    a. the document's control numbers;
    b. all authors of the document;
    c. all addressees of the document;
    d. all recipients of the document or of any copies of the document, to the extent not included among
       the document's addressees;

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    e. the date of the document;
    f.   a description of the subject matter of the document sufficient to determine the applicability of the
         privilege;
    g. the nature or type of the privilege that is being asserted for the document (e.g., "attorney-client
       privilege");
    h. the specification(s) of the Demand to which the document is responsive;
    1.   the document control number(s) of any attachments to the document, regardless of whether any
         privilege is being asserted for such attachment(s); and
    J.   whether the document has been produced in redacted form, and if so, the range of the control
         numbers for the document.
7. Trade Secrets. It is your responsibility to clearly designate which, if any, of the requested documents
   contain trade secrets, in accordance with Section l 7.61(f) of the Texas Business and Commerce Code.

8. Consult Before Producing Documents. Before processing or making copies of hard copy documents
   or electronically stored information in response to this Civil Investigative Demand, consult with the
   designated representative(s) of the Office of the Attorney General, ("OAG") identified above and
   reach agreement on the format and method of production.

    Likewise, before producing any original documents, consult with one of the designated representatives
    of the OAG identified above to obtain approval. If you produce original documents, the OAG cannot
    guarantee their return.

9. You May Produce Copies. Subject to the consultation requirement noted above, you may submit
   photocopies (with color photocopies where necessary to interpret the document) in lieu of original
   hard-copy documents, provided that such copies are accompanied by an affidavit of an officer of
   Media Matters for America stating that the copies are true, correct, and complete copies of the original
   documents, and (if appropriate) were generated and maintained in the ordinary course of your business,
   and provided that where the original contains colored text or images, a color copy must be provided.

10. Non-identical Copies to be Produced. Identical copies of responsive documents need not be
    produced. However, any copy of a document that differs in any manner, including but not limited to
    the presence of handwritten notations, different senders or recipients, etc. must be produced.

11. No Redaction. All materials or documents produced in response to this Civil Investigative Demand
    shall be produced, except as deemed privileged, in complete unabridged, unedited and unredacted
    form, even if portions may contain information not explicitly requested, or might include interim or
    final editions of a document.

12. Documents to be Bates Numbered. Mark each page or electronic medium (e.g., disk, tape, or CD)
    with individual or corporate identification and eight-digit consecutive document control numbers (e.g.,
    DOE-12345678; CORP-12345678). Hardcopy bound pamphlets or books may be marked with a
    single identification and control number. Documents as to which privilege is asserted are to also
    receive identification and control numbers.
    If your production will be more than one box or piece of electronic media, number each box or
    electronic media, as well as the total number of boxes/media (e.g., box 1 of 13) and mark each with
    the name(s) of the person(s) whose files are contained therein, the requests(s) to which they are
    responsive, and the document control numbers contained therein.
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13. Document Organization. Each document and other tangible thing produced shall be clearly
    designated as to which request, and each sub-part of a request, that it satisfies. The documents
   produced shall be identified and segregated to correspond with the number and subsection of the
    request
14. Production of Electronic Documents. Unless otherwise agreed to in writing by the designated OAG
    representative, electronically stored information shall be produced in electronic form. Before you
    prepare documents or information for production in electronic form in order to comply with this Civil
    Investigative Demand (for example, before you attempt to process electronically stored information
    or image hard copy documents), you must consult with the designated representative(s) of the OAG
    identified above and reach agreement regarding the format and method of production.

15. Questions. Questions concerning this Civil Investigative Demand should be directed to Assistant
    Attorney General Levi Fuller at (512) 936-1308.




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                                               Definitions
1. "You," "your," "the business," "Media Matters for America," or "Media Matters" means Media
   Matters for America, their past and present officers, employees, agents and representatives, parents
   and predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and includes all
   persons and entities acting or purporting to act under the guidance or on behalf of any of the above.
   The terms "subsidiary," "affiliate," and "joint venture" refer to any firm in which there is total or
   partial ownership (25 percent or more) or control between the company and any other person or entity.

2. "X," "X Corp.," "Twitter," or "Twitter, Inc." means X, their past and present officers, employees,
   agents and representatives, parents and predecessors, divisions, subsidiaries, affiliates, partnerships
   and joint ventures, and includes all persons and entities acting or purporting to act under the guidance
   or on behalf of any of the above.

3. "Document" means the original and all non-identical copies (whether different from the original
   because of notes, underlining, attachments, or otherwise) of all computer files, and all written, printed,
   graphic or recorded material of every kind, regardless of authorship. It includes communications in
   words, symbols, pictures, photographs, sounds, films, and tapes, as well as electronically stored
   information, computer files, together with all codes and/or programming instructions and other
   materials necessary to understand and use such systems. The term "computer files" includes
   information stored in or accessible through computers or other information retrieval systems and
   includes but is not limited to drafts of documents, metadata, embedded, hidden and other bibliographic
   or historical data describing or relating to documents created, revised, or distributed on computer
   systems, as well as spreadsheets and their underlying cell formulae and other codes. Thus, you should
   produce documents that exist in machine-readable form, including documents stored in personal
   computers, portable computers, workstations, minicomputers, phones, pagers, personal data/digital
   assistants, archival voice storage systems, group and collaborative tools, electronic messaging devices,
   mainframes, servers, backup disks and tapes, archive disks and tapes, and other forms of offline
   storage, whether on or off your premises. This definition covers electronic mail messages ("e-mail"),
   text messages, voice mail, and all other documents in the possession of you and/or your directors,
   officers, managers, or employees, whether located at their home or office, whether on work or personal
   devices. Notice: Unless otherwise specified, the term "document" excludes bills of lading, invoices
   in non-electronic form, customs declarations, purchase orders, and other similar documents of a purely
   transactional nature.

4. "Communication" means any exchange or transmission of words or ideas to another person or an
   entity, including without limitation conversations, discussions, letters, memoranda, meetings, notes,
   speeches, or other transfer of information, whether written, oral, or by any other means, whether direct
   or indirect, formal or informal, and includes any document which abstracts, digests, transcribes or
   records any such communication. This definition extends to and encompasses electronic
   communications on internal chat platforms such as Slack, Microsoft Teams, Google Chat, and other
   similar messaging platforms.

5. "Entity" means legal or business entity of any kind and includes, without limitation, corporations,
   partnerships, joint ventures, associations, governmental bodies, and trusts.
6. "Evidencing" means having any tendency to make the existence of any fact related to the request
   more probable than it would be without the evidence.
7. "Identify" means
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     a. Regarding an individual, to identify that individual's:

         1. name;

         11. current or last known telephone numbers at business and home; and

        m. current or last known business and home addresses.

    b. Regarding a person other than an individual, to identify:

         1. its full name;

        11. the nature of its organization;

        111. the address and telephone number of its principal offices and, if applicable, the state in which
             it is incorporated; and

        1v. its principal line of business or activity.

    c. Regarding any other tangible thing, to identify:

         1.   what it is, giving a reasonably detailed description thereof;

        11. when, where, and how it was made, if applicable;

        m. who made it, if applicable; and

        1v. its current custodian or the person that had last known possession, custody, or control thereof.

8. "Including" means including, but not limited to.

9. "Person" includes you and means any entity or natural person.

10. "Relate," "related," and "relating" mean being in any way legally, logically, or factually connected
    with the subject matter of the request at issue.

11. The words "and" and "or" shall be construed either conjunctively or disjunctively as required by the
    context to bring within the scope of the request, any document(s) that might be deemed outside its
    scope by another construction.

12. Unless the context otherwise clearly indicates, words used in the singular include the plural, the plural
    includes the singular, and the neuter gender includes the masculine and the feminine.




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                        EXHIBIT A: DOCUMENTS TO BE PRODUCED
1. Produce documents sufficient to identify Media Matters for America's employee organizational
    chart.

2. Produce documents sufficient to identify all of Media Matters for America's sources of income
   originating in the State of Texas.
3. Produce documents sufficient to identify all of Media Matters for America' s operational
   expenditures in the State of Texas.

4. Produce all documents related to internal and external communications by Media Matters for
   America regarding Elon Musk's purchase ofX during the relevant time period.

5. Produce all documents related to internal and external communications by Media Matters for
   America regarding Linda Yaccarino during the relevant time period.
6. Produce documents sufficient to identify all current and past X accounts under the ownership,
   control, or operating at the behest of Media Matters for America.

7. Produce all documents related to internal and external communications relating to the article titled
   "As Musk endorses antisemitic conspiracy theory, X has been placing ads for Apple, Bravo, IBM,
   Oracle, and Xfinity next to pro-Nazi content" by Eric Hananoki.
8. Produce documents sufficient to identify all of Media Matters for America's owned, controlled, or
   authorized X accounts that were used to obtain, produce, or otherwise acquire the screenshot
   images contained in the article titled "As Musk endorses antisemitic conspiracy theory, X has been
   placing ads for Apple, Bravo, IBM, Oracle, and Xfinity next to pro-Nazi content" by Eric
   Hananoki.

9. Produce documents sufficient to identify all X accounts, profiles, and members followed by the X
   accounts identified in response to Demand Number 8, above.

10. Produce all of Media Matters for America's external communications with employees and
    representatives ofX from November 1, 2023 to November 21, 2023.
11. Produce all of Media Matters for America's external communications with Apple Inc.,
    International Business Machine Corporation (IBM), Bravo television network, NBCUniversal,
    Oracle Corporation, and Comcast Corporation, Lions Gate Entertainment Corporation, Warner
    Bros Discovery Inc., Paramount Pictures Corporation, and Sony Group Corporation from
    November 1, 2023 to November 21, 2023.

12. Produce documents sufficient to identify all direct and indirect sources of funding for all Media
    Matters for America operations involving X research or publications.




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